Case 1: 16 cv 02744- RA Document 26 Filed 03/28/17 Page 1 of 5
PROCESS RECEIPT AND RETURN

 

 

 

 

  

 
   

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l hereby cenif'y and return thatl have personally served, l'_`l have legal evidence of service, [] \lh€re executed as shown in “Remarks", the process described '

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SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WlLL ASSIST IN EXPEDITING SERVlCE (

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l acknowledge receipt for the total Total Process District Distn`ct Signature of Authorized USMS Deputy or Clerk Date
on the individual, company, corpra ration~, etc , at the address shown above or on the individual company, corporation, etc., shown at the address inserted below.

 

 

 

 

 

 

l:} I hereby certi:l‘)}‘ and return that l am unable to locate the individual, company, corporation, etc., named above (See remarks belaw)

 

Name and title ofmdividual served ( f 1101 shown above) A person of suitable age and dis-
cretion then residing m the defendant’ s

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l hereby certify and return that on l\/lay 9, 2017, l received a check
from Chase Bank, in the amount of $35,844.03 representing funds for
ease number 16 Civ. 2744

 

]udgment Partially Satisfied Michael Greco

Dated: New York, NY United States Marshal THE COURT . - FORM lmg:::mlvz/:zlsgg;
May 24, 2017 .
By: Allison l~loneymar ' l(_d "§q"l"£ "| \/
m Deputy United States Marshal M.._

 

 

 

 

Case 1:16-CV-02744-RA Document 26 Filed 03/28/17 Page 2 of 5

United States District Court

SOUTHERN DISTRICT OF NEW YORK

JUDGMENT No. DoCKET No_ 11

 

THE PRESIDENT OF THE UNITED STATES GF AMERICA
To the Marshal of the Southern District ofNew York, GREETING:

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of /: j(:jl¢< `>}:` )f?\§f in the year of 2£::’)//:

and if sufficient personal property of the said judgment debtor cannot be found in your District, that then you cause the
same to be made out of the real property belonging to such judgment debtor on the above-mentioned day, or at any time
thereafter, 111 Whose hands soever the same may be, and return this execution Within Sixty days after its receipt by you, to
the Clerk of said District Court.

WITNESS, the Honoi able Colleen McMahon, Chief Ju e of the United States District Court, for the Southern

 

 

 

District of New York, at the City of New Yorl<, on the 525 day of Wlftv’(:V] in the
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Case 1:16-CV-O2744-RA Document 26 Filed 03/28/17 Page 3 of 5

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Case 1:16-0v-O2744-RA Document 24 Filed 10/11/16 Page 1 of 2
Case l:lG-cv-O2744-RA Document 22 Filed 09/19/16 Page l of 2

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GARY MILLER : ` §§ _,_;iid ..... §§
Plaintz'ff, : Index No. l6-cv-02744-(RA)
: ECF Case
vs. :
:P`R=SPO‘SE‘D DEFAULT
:JUDGEMENT

ALLHIPHOP.COM LLC

Defendant.
___________________________________________ X

RONNIE ABRAMS, United States District Judge:

Plaintiff filed the Complaint in this action on April 12, 2016. On April 14, 2016, the
Defendant was served a Suinmons, Civil Cover Sheet and Complaint through the New York
Secretary of State. Pursuant to Fed. R. Civ. P. l2(a), Defendant was required to answer by May
5, 2016. On July ll, 2016, the Plaintiff moved for a Certif`icate of Default from the Clerk of
Court, followed by a Motion for Default and a hearing on Order to Show Cause. 'l`he Clerk of`
Court entered default on July 15, 2016, and a hearing was held on October 4, 2016. 'l`he
Defendant having failed to timely appear and defend itself against the allegations contained in the
Complaint is hereby:

ORDERED that Plaintifi’s Motion for Default Judgment is GRANTED; it is

FURTHER ORDERED that the Defendant violated Section 501 et al. of the

Copyright Act;
FURTHER ORDERED that Defendant Shall pay $30,000 in civil penalties for

willful copyright infringement; it is

 

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Case 1:16-cv-02744-RA Document 22 Filed 09/19/16 Page 2 of 2

FURTHER ORDERED that Defendant shall pay $8,0()0 in Plaintift" s attorney’s

fees and costs; and it is

FURTHER ORDERED that this case is DISMISSED and the Clerk of the Court

shall remove it from the docket of the Court.

SO ORDERED. 3
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Dated: eptem`ber _{, 2016 z '
New York, NY '

Ron,nie Abrams
United States District Judge

